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AO 91 (Rev. 11/11) Criminal Complaint |
— UNITED STATES DISTRICT COURT -

for the
Southern District of Texas

United States of America )
| -V, ) Caso No. M-14-1081-™M,
Alejandro Moya.
Defendant(s) )
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
_ On or about the date(s) of 05/10/2019 in the county of Hidalgo in the Southern District of f'Texas, the defendant(s) violated:

Code Section Offense Description
.Title 18, United States Code, Section 2422 (b) Coercion and Enticement of a Minor

' This criminal complaint is based on these facts:

“See Attachment A

Continued on the attached sheet. a /s/ Scott McIver, HSI Special Agent
oe - . Complainant's Signature - .

Scott McIver Special Agent
Submitted by reliable electronic means, sworn to and attested , - Printed name and title |
-- telephonically per-Fed. R. Cr.P.4.1, and probable cause found on: -

 

. _10-May-19 — 9:52 p.m

. Date: - A Te’ site

“McAllen, Texas : Hon. Juan F. Alanis U.S. Magistrate Judge_
City and State . Printed name and title .

 
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~ ATTACHMENT “A”

On May 9, 2019, Homeland Security Investigations (HS!) Rio Grande Valley Child Exploitation
Investigations Task Force (RGV CEITF) Special Agent (SA) Scott Mclver participated in an undercover
online enticement investigation on the application “Whisper” and took on the persona of a 13-year-old
female child. SA Mclver created a post that read “Boys suck!! Ughhh”. SA Mclver created the post in
the area of Weslaco, Texas.

‘Shortly after creating the post, SA Mclver received a response from the Whisper user “Earth_Cat”. The
suspected male subject initiated the conversation by asking “Want to watch me fuck a pocket pussy?”
In the ensuing conversation, SA Mclver immediately stated that he was 13-years-old. The user

’ continued the sexually explicit conversation, which moved to the application Kik when the user
messaged from Kik username “alexm421”. The Kik conversation began with the suspected male saying |
“Hey”, and the image of an erect penis was sent with the text. The conversation continued on Kik with:
the user sending multiple unsolicited images of an erect penis and multiple unsolicited videos of a male

_ masturbating to who he believed to be a 13-year-old minor female. Several of the videos and j images

‘Showed the male using a sexual aid to masturbate.

Throughout the conversation, SA Mclver stated that he was a 13-years-old female multiple times, and
the user acknowledged he understood he was communicating with a 13-year-old female child twice. '
The user continued with the sexually explicit conversation, and later said that he wanted to meet to
‘engage in sexual acts. The sexually explicit conversation included messages from the user that include
but are not limited to “your pussy whould love it but don’t worry | can make you cum just with my
fingers” and “think | could get a full body pic before you go id love to cum to what ill be ‘fucking soon’.
The conversation continued on May 10, 2019, and the usér requested to meet for sexual acts with the
13-year-old female child after she got out of school for the day.

After the user requested.to meet with the 13-year-old female child, HSI.agents secured a safe location
for the meet to occur via Kik. SA Mclver relayed the meet location to the user after all agents were in
place. The location was a hotel in Pharr, Texas with very little activity, and it had a rear parking lot with
one exit and only one other vehicle present. Approximately 30 minutes later, a truck arrived with the
suspected user driving. The user told who he believed was a 13-year-old female child that he had
_arrived, and agents took him into custody. SA Mclver observed a cell phone in the driver’s hand, so SA
Mclver sent message “??” to the user. SA Mclver immediately observed the two question marks appear
on the driver’s phone with the name “Kim B”, which w was consistent with the undercover account being
used by SA Mclver. :

The driver/suspected male subject, later identified as Alejandro Moya (hereinafter MOYA), was
‘transported to the Pharr Police Department where-a post-Miranda interview was conducted. In the
" interview, MOYA admitted to sending sexually explicit images and videos of himself to an individual he ~
thought was a 13-year-old female. MOYA also admitted to driving to the hotel to meet the 13-year-old
female to engage in sexual activity. .

If MOYA had'sex with a 13-year-old child, he could have been charged with aggravated sexual assault in
violation of the Texas Penal Code 22.021. -
